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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF WYOMING


BCB CHEYENNE LLC d/b/a BISON                   )
BLOCKCHAIN, a Wyoming limited liability        )
Company                    .                   )
                                               )
        Plaintiffs                             )
                                               )
v.                                             )   Civil No. 23-CV-79
                                               )
MINEONE WYOMING DATA CENTER,                   )
LLC, a Delaware limited liability company;     )
MINEONE PARTNERS LLC, a Delaware               )
limited liability company; TERRA CRYPTO )
INC., a Delaware corporation; BIT ORIGIN, )
LTD, a Cayman Island Company;                  )
SONICHASH LLC, a Delaware limited              )
liability company; and JOHN DOES 1-20,         )
related persons and companies who control      )
or direct some or all of the named Defendants, )
                                               )
        Defendants.                            )


      PLAINTIFF’S RESPONSE AND OBJECTION TO DEFENDANTS’
         MOTION FOR EXTENSION OF TIME TO ANSWER, AND
     PLAINTIFF’S APPLICATION FOR ENTRY OF DEFAULT AGAINST
    DEFENDANTS MINEONE WYOMING DATA CENTER LLC, MINEONE
        PARTNERS LLC, SONICHASH LLC, AND BIT ORIGIN, LTD.


       COMES NOW Plaintiff BCB Cheyenne LLC d/b/a Bison Blockchain, through its


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counsel, and hereby serves its Response to Plaintiff’s Motion for Extension of Time to

Respond (“Motion”), and Plaintiff’s application for entry of default against four of the five

Defendants, namely, Mineone Wyoming Data Center LLC, Mineone Partners LLC,

SonicHash LLC, and Bit Origin, Ltd. Plaintiff BCB Cheyenne LLC shows the Court as

follows:

       1.      Plaintiff incorporates everything its attorney, Patrick Murphy, stated in Mr.

Murphy’s June 22, 2023 meet-and-confer letter to Sean Larson, local counsel for the

Defendants. Mr. Murphy’s 6/22/23 email is attached to Defendants’ Motion as “Exhibit

A.” That email contains the relevant history and reasons why the Court should not grant

Defendants an extension of time to answer or respond to Plaintiff’s Complaint. That

history, and Plaintiff’s arguments, are incorporated in this Response, but not repeated.

       2.      Rule 6.1 of the USDCLR states as follows:
       “All parties shall strictly comply with all time limits as provided by the Local
       Rules and the federal Rules of Civil Procedure. Where compelling
       circumstances exist, motions for extension of time, of not more than fourteen
       days within which to answer or move to dismiss the complaint, may be
       granted by the judge. After consultation with and approval by opposing
       counsel, counsel seeking an extension for the first time shall, upon oral
       motion, request an immediate ruling from the judge. The hearing may be by
       telephone/video conference or in person. The judge shall enter or cause the
       Clerk of Court to enter the ruling on the docket and no further order will be
       entered on the motion.” (emphasis added).

       3.      When Defendants’ counsel, Sean Larson, met-and-conferred with Plaintiff’s

counsel, Patrick Murphy, the only reason Mr. Larson cited as a “compelling circumstance”

to warrant an extension of time was “an interest in having the Defendants all on the same

[answer] deadline.” See Sean Larson’s 6/21/23 email to Patrick Murphy; “Exhibit A” to



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the Motion. Nothing else. That is not a “compelling circumstance.”

       4.     Now, in their Motion, Defendants realize that “having the Defendants all on

the same [answer] deadline” is not a “compelling circumstance,” so they suggest there are

different compelling circumstances. In fact, none of Defendants’ proffered reasons for

wanting a 14-day extension of time are “compelling circumstances.”

       5.     Defendants now say the following constitute the required “compelling

circumstances:”

       Defendants request this extension because counsel has been evaluating these
       complicated claims concerning multiple Defendants, which include an
       allegation of “no less than $22,000,000.00” in damages. In addition to the
       complexity of the claims and allegation of more than $22,000,000.00 in
       damages, this case potentially involves complicated issues for consideration
       of diversity of the parties. These three Defendants are limited liability
       entities, and as such the domiciles of each of their members come into play
       in assessing diversity. Plaintiff’s claims are all state law claims, and as such
       diversity will need to be considered by the parties and this Court. Plaintiff’s
       Complaint is 47 pages and 222 paragraphs in length. All of the above
       circumstances require additional time, research, and assessment, most of
       which is somewhat unique to filing this matter in federal court.

See Motion at ¶ 4.

       6.     What Defendants do not tell the Court is that their New York City counsel,

Paula Cobash, has had Plaintiff’s Chancery Court Complaint since at least March 24, 2023,

and she and Mr. Larson have had actual knowledge of and access to Plaintiff’s federal court

Complaint since May 4, 2023. Nowhere in their Motion do they inform the Court how

much – or how little – of that time they have actually spent “evaluating these [alleged]

complicated claims.”

       7.     They next say this case potentially involves “complicated issues for


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consideration of diversity of the parties.” Id. They observe that “[t]hese three Defendants

are limited liability companies, and as such the domicile of each of their members come

into play in assessing diversity.” How long would it take counsel for these three closely-

related Defendant entities – comprised of interrelated Chinese nationals – to determine (a)

who the “members” are of each company, and (b) the domicile of each “member?” One

hour? Two hours? For sure, none of these “members” are domiciled in Colorado or Illinois

– the two states where the three BCB members are domiciled. At tops it would take

Defendants’ counsel three hours to determine that complete diversity exists between (a)

the members of BCB, and (b) the members of the three Defendant limited liability

companies. Defendants and their counsel have had since May 4, 2023 to make this simple

assessment. But they do not inform the Court of what efforts they have made – or not made

– to make the assessment.

       8.     Defendants posit one more reason as an alleged “compelling circumstance”

for an extension of time. They say these are “complicated state law claims” and Plaintiff’s

“damages claim of more than $22,000,000.00” constitute a “compelling circumstance” for

more time to research and investigate Plaintiff’s Complaint. Motion at ¶ 5. Again,

Defendants’ lead counsel from New York City, Paula Cobash, has had Plaintiff’s Chancery

Court Complaint for more than ninety (90) days, and actual knowledge of and access to

Plaintiff’s federal court Complaint of over fifty (50) days. That is more than ample time

to research, investigate and respond to Plaintiff’s federal court Complaint.

       9.     Defendants have intentionally slow-played responding to Plaintiff’s

Chancery Court Complaint and Federal Court Complaint at every step of these


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proceedings. See Patrick Murphy’s 6/22/23 email to Sean Larson.

       10.    For no good reason, Defendants are critical of Plaintiff for re-filing this

federal Court Complaint days before Chancery Court Judge Steven Sharpe dismissed

Plaintiff’s Chancery Court Complaint. See Motion at ¶ 1 (“Plaintiff filed its Complaint on

May 3, 2023. At the time of filing, Plaintiff had an open case and complaint in Wyoming

Chancery Court. Nine (9) days after Plaintiff hastily filed this federal court Complaint,

Judge Steven K. Sharpe dismissed the Chancery Court Complaint without prejudice”). The

simple truth is that the Chancery Court judge “shall” dismiss any Chancery Court suit if

any of the parties to that case ask for dismissal even where, as here, they don’t submit any

reason for their requested dismissal. Rule 3(a) of the Civil Procedure Rules for Chancery

Court say:

       If any party files an objection to having the matter proceed in chancery court
       on or before the date of its first pleading is due, the chancery court shall enter
       its order dismissing the case without prejudice.

(emphasis added).

       Thus, once Defendant Mineone Wyoming Data Center LLC filed its May 2, 2023

Objection to Proceeding in Chancery Court, “Exhibit A,” the die was cast. Judge Sharpe

had to dismiss Plaintiff’s Chancery Court case, which he did on May 12, 2023 (“Exhibit

B”).

       11.    Instead of granting Defendants any extension of time to answer or otherwise

plead to Plaintiff’s Complaint, the Court should enter default against four of the five

Defendants. The only Defendant whose time for answering has not yet expired is Terra

Crypto Inc. The other four Defendants – Mineone Wyoming Data Center LLC, Mineone


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Partners LLC, SonicHash LLC, And Bit Origin, Ltd. – all had until June 22, 2023 to answer

or respond to the Complaint. And each of them failed, without any good reason, to do that.

In his Motion, Defendants’ counsel is simply wrong when he states, in ¶ 3:

      “Defendants Mineone Wyoming Data Center LLC, Mineone Partners LLC,
      and SonicHash LLC, were served with the Summons and Complaint on June
      5, 2023. These three Defendants have until June 26, 2023 to serve their
      answers or responsive pleadings.

Actually, these three Defendants were all served on June 1, 2023, and had until June 22,

2023 to file their Answers or responsive pleadings, as described below.

      12.    Defendants are similarly mistaken when they say, in their Motion, that

      Defendants’ counsel’s understanding was that neither Terra Crypto Inc., nor
      Bit Origin, Ltd had been served. Defendants’ counsel notes that a return
      of service for both of those Defendants have been filed but has no
      information as to the validity of that service at this time.

Motion at 3 (emphasis added).

      As described below, Bit Origin, Ltd. was served back on May 23, 2023, and its

Answer was due back on June 13, 2023. Bit Origin, Ltd. is in default. Terra Crypto Inc.

was served on June 7, 2023, and its answer or responsive pleading is not due until June 28,

2023. Why Defendants’ counsel misapprehends that Mineone Wyoming Data Center LLC,

Mineone Partners LLC, and SonicHash LLC were served on June 5, 2023 is hard to fathom:

The Court file demonstrates all three Defendants were served on June 1, 2023.

      With respect to Defendants Mineone Wyoming Data Center LLC, Mineone Partners

LLC, SonicHash LLC, and Bit Origin, Ltd., Plaintiff shows the Court as follows:

             A.     Mineone Wyoming Data Center LLC.

      Mineone Wyoming Data Center LLC is a Delaware limited liability company,


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formed on May 23, 2022. See “Exhibit C” from the Delaware Secretary of State. The

Delaware agent for service of process for Mineone Wyoming Data Center LLC is CORP1,

Inc. in Dover, Delaware. Id. CORP1, Inc. was personally served with the Complaint and

Summons on June 1, 2023 by process server Isaiah Greene. See Mr. Greene’s Affidavit of

Service (“Exhibit D”); Doc 12. Mineone Wyoming Data Center LLC’s Answer or other

responsive pleading to Plaintiff’s Complaint was due Thursday, June 22, 2023, twenty-one

(21) days after service of process, pursuant to Rule 12(a)(1)(A) of the Federal Rules of

Civil Procedure (“A defendant must serve an answer within 21 days after being served with

the summons and complaint”); see “Exhibit E,” the Clerk’s notification of the June 22,

2023 answer date Mineone Wyoming Data Center LLC has failed to plead or otherwise

defend in the time provided.

             B.     Mineone Partners LLC.

      Mineone Partners LLC is a Delaware limited liability company, formed on October

13, 2021. See “Exhibit F” from the Delaware Secretary of State. The Delaware agent for

service of process for Mineone Partners LLC is CORP1, Inc. in Dover, Delaware. Id.

CORP1, Inc. was personally served with the Complaint and Summons on June 1, 2023 by

process server Isaiah Greene. See Mr. Greene’s Affidavit of Service (“Exhibit G”); Doc.

11. Mineone Partners LLC’s Answer or other responsive pleading to Plaintiff’s Complaint

was due Thursday, June 22, 2023, twenty-one (21) days after service of process, pursuant

to Rule 12(a)(1)(A) of the Federal Rules of Civil Procedure (“A defendant must serve an

answer within 21 days after being served with the summons and complaint”); see “Exhibit

H,” the Clerk’s notification of the June 22, 2023 answer date. Mineone Partners LLC has


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failed to plead or otherwise defend in the time provided.

              C.     SonicHash LLC.

       SonicHash LLC is a Delaware limited liability company, formed on December 17,

2021. See “Exhibit I” from the Delaware Secretary of State. The Delaware agent for

service of process for SonicHash LLC is CORP1, Inc. in Dover, Delaware. Id. CORP1,

Inc. was personally served with the Complaint and Summons on June 1, 2023 by process

server Isaiah Greene. See Mr. Greene’s Affidavit of Service (“Exhibit J”); Doc. 13.

SonicHash LLC’s Answer or other responsive pleading to Plaintiff’s Complaint was due

Thursday, June 22, 2023, twenty-one (21) days after service of process, pursuant to Rule

12(a)(1)(A) of the Federal Rules of Civil Procedure (“A defendant must serve an answer

within 21 days after being served with the summons and complaint”); see “Exhibit K,”

the Clerk’s notification of the June 22, 2023 answer date. SonicHash LLC has failed to

plead or otherwise defend in the time provided.

              D.     Bit Origin, Ltd.

       Bit Origin is a Cayman Islands organization, formed on or about January 23, 2018.

See “Exhibit L.” McGrath Tonner Corporate Services Limited is the Cayman Islands

registered agent for service of process for Bit Origin, Ltd. in George Town, Cayman

Islands. Id. McGrath Tonner Corporate Services Limited was personally served with the

Complaint and Summons on May 23, 2023 by process server Joan Ebanks Agurcia. See

“Exhibit M;” Doc. 15. Bit Origin, Ltd.’s Answer or other responsive pleading to

Plaintiff’s Complaint was due on June 13, 2023, twenty (20) days after service of process,

pursuant to Rule 12(a)(1)(A) of the Federal Rules of Civil Procedure (“A defendant must


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serve an answer within 21 days after being served with the summons and complaint”); see

“Exhibit N,” the Clerk’s notification of the June 22, 2023 answer date. Bit Origin, Ltd.

has failed to plead or otherwise defend in the time provided.

       13.    Four Defendants waited until 4:55 p.m. on the day their responsive pleadings

were “due” to first ask the Court for an extension of time to answer Plaintiff’s Complaint,

knowing that Plaintiff’s counsel objected to any extension, and knowing they did not have

the needed “compelling circumstances” to support an extension of time.

       14.    What the Defendants should have been doing is preparing their Answers, or

other responsive pleadings, once they were served on May 23 and June 1, 2023.

Defendants offer no reason, or excuse, for (a) not knowing Bit Origin, Ltd. was served on

May 23; (b) not knowing the Mineone Wyoming Data Center LLC, Mineone Partners LLC,

and SonicHash LLC Defendants were served June 1, not June 5; and (c) not preparing their

Answers and/or responsive pleadings from June 1-22, 2023. The Returns of Service have

been in the Court file since June 13, 2023. Defendants and their capable counsel had easy

access to the Court file.

       15.    These Defendants’ failure to timely answer or respond to Plaintiff’s

Complaint by June 22, 2023 was not due to any excusable neglect, but rather due to

culpable conduct. “Generally, a defendant’s conduct is considered culpable if he has

defaulted willfully or has no excuse for the default.” Viking Insurance Company of

Wisconsin v. Sumner, 2016 WL 10672361 *3 (D. Wyo. 2016, Skavdahl, Chief Judge).

Here, these defaulted Defendants demonstrate no excuse for their default. And, “if the

default was the result of the defendants’ culpable conduct, the district court may refuse to

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set aside the default on that basis alone.” Id.

       WHEREFORE, Plaintiff BCB Cheyenne LLC respectfully prays as follows:

       A.     Without the requested showing of “compelling circumstances,” the Court

              should deny Defendants’ Motion for an extension of time for any Defendant

              to answer or otherwise plead to Plaintiff’s Complaint; and

       B.     Because Defendants Mineone Wyoming Data Center LLC, Mineone

              Partners LLC, SonicHash LLC, And Bit Origin, Ltd. have all failed to plead

              or otherwise respond to Plaintiff’s Complaint by the June 22, 2023 deadline,

              the Court should enter default against each such Defendant pursuant to Rule

              55 of the Federal Rules of Civil Procedure.


       Respectfully submitted this 23rd day of June, 2023.

                                           BCB CHEYENNE LLC d/b/a
                                           BISON BLOCKCHAIN,

                                           Plaintiff

                                    By:    /s/ Patrick J. Murphy
                                           Patrick J. Murphy (WSB No. 5-1779)
                                           Scott C. Murray (WSB No. 7-4896)
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                                           Attorneys for Plaintiff




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                            CERTIFICATE OF SERVICE

     The undersigned does hereby certify that a true and correct copy of the foregoing
document was delivered to the Court via the CM/ECF System and served upon counsel via
CM/ECF electronic transmission this 23rd day of June, 2023.

     Sean M. Larson, WSB No. 7-5112               U.S. Mail (Postage Prepaid)
     HATHAWAY & KUNZ, LLP                         Fax
     P.O. Box 1208                                Overnight Delivery
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                                 /s/ Patrick J. Murphy
                                   Patrick J. Murphy




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